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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )            8:09CR141
                    Plaintiff,                   )
                                                 )
      vs.                                        )             ORDER
                                                 )
ELLIE MILLS,                                     )
                                                 )
                    Defendant.                   )


      This matter is before the court on the motion to continue by defendant Ellie Mills
(Mills) (Filing No. 63). Mills seeks a continuance of the trial of this matter which is
scheduled for August 10, 2009. Upon consideration, the motion is denied.


      IT IS SO ORDERED.
      DATED this 7th day of August, 2009.
                                                 BY THE COURT:
                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
